                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re                                                 Case No. 23-51124-tjt

Keyanna Mae Thomas,                                   Chapter 7

        Debtor.                                       Judge Thomas J. Tucker
                                                  /

Andrew R. Vara,
United States Trustee,                                Adversary No. 24-4087

        Plaintiff,

v.

Keyanna Mae Thomas,

        Defendant.
                                                  /

               DEFAULT JUDGMENT AGAINST DEFENDANT,
               DENYING DEFENDANT-DEBTOR’S DISCHARGE

        This adversary proceeding is before the Court on the motion of the Plaintiff,

Andrew R. Vara, United States Trustee (Docket # 5, the “Motion”), seeking the

entry of a default Judgment against the Defendant, Keyanna Mae Thomas,

following the Clerk’s Entry of Default (Docket # 4). The Court finds that the

Defendant is in default by virtue of her failure to answer the Complaint seeking the

denial of the discharge of Debtor, Keyanna Mae Thomas, under 11 U.S.C.

§ 727(a). The Court finds good cause to enter this default judgment.




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      IT IS ORDERED that the Motion is granted, and judgment is entered in

favor of Plaintiff and against Defendant on all counts of Plaintiff’s complaint

(Docket # 1, Counts I through III).

      IT IS FURTHER ORDERED that the discharge of the Defendant-Debtor,

Keyanna Mae Thomas, is denied, based on 11 U.S.C. §§ 727(a)(3), 727(a)(4)(A),

and 727(a)(5).



Signed on April 25, 2024




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